Case 3:17-cv-00072-NKM-JCH Document 1146-1 Filed 10/04/21 Page 1 of 1 Pageid#:
                                  18807



                               Western District of Virginia
                          COVID-19 Vaccination Status Attestation

 Please complete and sign this self-attestation concerning your COVID-19 vaccination status.
 You do not need to provide any medical information on this form, nor any explanation
 concerning your decision to receive or not receive a COVID-19 vaccine. For purposes of
 this form, being “fully vaccinated” means that two weeks have passed after receiving the
 second dose of a two-dose vaccine (Pfizer or Moderna) or after receiving the single-dose
 vaccine (Johnson & Johnson). Once completed, this form should be returned to the
 presiding judge’s chambers.

 Name: ____________________________________________


 Classification:        ___ Party                ___ Attorney     ___ Witness


 Please choose one of the following:

        ___        1.   I am fully vaccinated.

        ___        2.   I received my second dose of the Pfizer or Moderna vaccine or my
                        single dose of the Johnson & Johnson vaccine less than two weeks ago
                        on ____________________.

        ___        3.   I received my first dose of the Pfizer or Moderna vaccine, and my
                        second appointment is scheduled for ____________________.

        ___        4.   I have not been vaccinated, but I took a COVID-19 test within three
                        days of my appearance in court and have received a negative result.
                        The date my last test was administered was ____________________.
                        Please attach documentation indicating (a) the date your test was
                        administered and (b) a negative result.


 I understand that I am required to provide accurate information on this form. I hereby
 affirm that I have accurately and truthfully answered the above question. I also understand
 that if I stated that I am fully or partially vaccinated, the Court may request documentation
 of my vaccination status (e.g., a copy of my vaccine card or other similar official document
 confirming vaccination status).


 ______________________________________                           ____________________
 SIGNATURE                                                        DATE
